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8                            UNITED STATES DISTRICT COURT
9                          CENTRAL DISTRICT OF CALIFORNIA
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                                                 Case No. 8:20-CV-01372-AB-JDE
12    JAMES ZARIAN,
13
                      Plaintiff,
                                                 ORDER DISMISSING CIVIL ACTION
14
      v.
15
      19411 LONDELIUS, LLC, a California
16    Limited Liability Company; and Does
      1-10,
17
                      Defendant.
18
19         THE COURT having been advised by counsel that the above-entitled action has
20   been settled;
21         IT IS THEREFORE ORDERED that this action is hereby dismissed without
22   costs and without prejudice to the right, upon good cause shown within 60 days, to re-
23   open the action if settlement is not consummated. This Court retains full jurisdiction
24   over this action and this Order shall not prejudice any party to this action.
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26
     Dated: December 3, 2020          _______________________________________
27                                    ANDRÉ BIROTTE JR.
28                                    UNITED STATES DISTRICT JUDGE

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